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                                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION

                                                 CASE NO. 14-10896-BKC-LMI
                                                 CHAPTER 13
IN RE:
NADINE PHILISTIN
       Debtor.
                             /

     DEBTOR’S OBJECTION TO CLAIM NO. 5 FILED BY SALLIE MAE INC., ON
                        BEHALF OF USA FUNDS

        The Debtor by and through her undersigned attorney, objects to claim No 5 filed by
Sallie Mae Inc., Attn: Bankruptcy Litigation Unit E3149, Post Office Box 9430, Wilkes
Barre, PA 18706, USA funds, Attn; Deposit operations, Post office Box 6180, Indianapolis,
IN 46206-6180 and Sallie Mae, Inc., Attn: Albert L. Lord, CEO, 12061 Bluemont Way,
Reston, VA 20190, as an unsecured claim in the amount of $27,619.93, and states:
        1.      This claim is for a school loan and the Debtor’s plan pays a 100% to all
allowed unsecured creditors. This claim should be stricken as this loan is being treated
outside the bankruptcy.
                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that I am adm itted to the Bar of the United States District Court for the
Southern District of Florida and I am in com pliance with the additional qualifications to practice in this
Court set forth in Local Rule 2090-1(A) and that a true and correct copy of this Objection to Claim was
em ailed to Nancy Neidich, Trustee at e2c8f01@ ch13herkert.com , and all others set forth in the NEF, this
4th day of Novem ber 2016, and this Objection and an upcom ing Notice of Hearing will be served on a
separate Certificate of Service via em ail to those set forth above and by regular m ail to the above
addressees.

                                                        Respectfully submitted,
                                         Law Offices of Michael J. Brooks, Michael A. Frank
                                               & Rodolfo H. De La Guardia, Jr.
                                               Attorneys for the Debtor
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                                               Email- Pleadings@bkclawmiami.com

                                                 By: /s/ Michael A. Frank
                                                        Michael A. Frank
                                                        Florida Bar No. 339075
